
54 So.3d 622 (2011)
Darrin BUGGS, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D10-4469.
District Court of Appeal of Florida, Fifth District.
February 18, 2011.
Darrin Buggs, Mayo, pro se.
Pamela J. Bondi, Attorney General, Tallahassee and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion will be filed with the lower court and be treated as the notice of appeal from the order denying ground one of the motion for post-conviction relief in Case No. 2007-CF-002327 in the Circuit Court in and for Orange County. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
SAWAYA, PALMER and TORPY, JJ., concur.
